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 7 Attorneys for Plaintiff,
     Timothy Chandler
 8
 9                        UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11 TIMOTHY CHANDLER, an individual,             Case No.: 3:22-cv-00636-W-DEB
12                            Plaintiff,
                                                DECLARATION OF GUSTAVO
13        vs.                                   PONCE IN SUPPORT OF
                                                PLAINTIFF’S COUNSEL’S
14 MIDLAND CREDIT MANAGEMENT,                   MOTION TO WITHDRAW
     INC., a Kansas corporation,
15
                        Defendant.              HON. THOMAS J. WHELAN
16
                                                DATE:  JANUARY 23, 2023
17                                              COURTROOM: 3C
18
                                                NO ORAL ARGUMENT PURSUANT
19                                              TO LOCAL RULE
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                         DECLARATION OF GUSTAVO PONCE IN SUPPORT OF
                           PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
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 1 I, Gustavo Ponce, declare:
 2    1. I am one of the attorneys for the Plaintiff in this action.         I submit this
 3        declaration in support of Plaintiff’s Counsel’s Motion to Withdraw. I am
 4        licensed to practice law before this court and all California State courts. If
 5        called as a witness, I would competently testify to the matters herein from
 6        personal knowledge.
 7    2. I, along with the firm of Kazerouni Law Group, APC, including my
 8        colleagues David McGlothlin and Mona Amini, (together as “We”), currently
 9        represent Plaintiff in this action.
10    3. Plaintiff and Plaintiff’s counsel can longer agree upon the manner in which to
11        handle this action and the attorney-client relationship cannot be maintained as
12        We have lost communication with Plaintiff. If requested by the Court, I
13        would be willing to discuss the basis for this break-down in camera, as I do
14        not intend on prejudicing my client’s position.
15    4. We have communicated with Plaintiff about withdrawing as Plaintiff’s
16        counsel via email, mail, and telephone calls to no avail from Plaintiff.
17    5. On November 7, 2022, I formally provided written notice to Plaintiff of my
18        intention to withdraw from representation as we had not heard from Plaintiff
19        in quite some time after numerous efforts to get in contact with Plaintiff.
20    6. We have attempted to contact Plaintiff several times though his last known
21        email address as well as telephone number but received no response back from
22        Plaintiff.
23    7. To this day We have not received a bounced back email or return as
24        undeliverable of any of the communications we have sent Plaintiff.
25    8. We have taken all reasonable steps under the circumstances to avoid any
26        foreseeable prejudice to the rights of Plaintiffs.
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                         DECLARATION OF GUSTAVO PONCE IN SUPPORT OF
                           PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
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 1      9. I respectfully request this Court grant my request for myself, the firm of
 2         Kazerouni Law Group, APC, as well as my colleagues David McGlothlin and
 3         Mona Amini, to be relieved from representation of Plaintiff.
 4
 5
           I declare under penalty of perjury that the foregoing is true and correct.
 6
     Executed on December 12, 2022, pursuant to the laws of the State of Nevada at Las
 7
     Vegas.
 8
                                              KAZEROUNI LAW GROUP, APC
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                                                 By: /s/ Gustavo Ponce
11                                               Gustavo Ponce, Esq.
                                                 Attorneys for Plaintiff
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                         DECLARATION OF GUSTAVO PONCE IN SUPPORT OF
                           PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
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 1                               PROOF OF SERVICE
 2       I hereby certify that on December 12, 2022, I electronically transmitted the
 3 document(s) listed below to CM/ECF system on this date.
 4
 5             DECLARATION OF GUSTAVO PONCE IN SUPPORT OF
 6
               PLAINTIFF’S COUNSELS’ MOTION TO WITHDRAW

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 8
                                            KAZEROUNI LAW GROUP, APC
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10
                                                By: /s/ Gustavo Ponce
11                                              Gustavo Ponce, Esq.
                                                Attorneys for Plaintiff
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                       DECLARATION OF GUSTAVO PONCE IN SUPPORT OF
                         PLAINTIFF’S COUNSELS’ MOTION WITHDRAW
